Case No. 1:01-cr-00214-RM Document 3909 filed 08/30/12 USDC Colorado pg 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Case No. 01-cr-00214-WYD

UNITED STATES OF AMERICA,

            Plaintiff,

v.

1.    Willie James Small,
2.    Dachaun Davis,
3.    Keyonna Davis,
4.    Alvin Green,
5.    Theolian Lloyd,
6.    Curtis Hawkins,
7.    Zebedee Hall,
8.    James Starkey,
9.    Edward Palmer,
10.   Fredric Williams,
11.   Herbert Lewis, Jr.,
12.   Angela Brewer,
13.   Daniel McIntyre,
14.   Jeff Abreu,
15.   Max Cooper,
16.   George Melvin Murray,
17.   Ernest Gaddis,
18.   Victor Mendinghall,
19.   Sammy Lee Woods,
20.   Ronald Dennis Clark,
21.   Bridget Johnson,
22.   Timothy Chandler,
23.   Carlos Johnson,
24.   Dwayne Vandyke,
25.   Thurman Douglas McKnight,
26.   Charles Young,
27.   Brian Harris,
28.   Dayne Drew,
29.   Tommy Jones,
30.   Dawan Eugene Smith,
Case No. 1:01-cr-00214-RM Document 3909 filed 08/30/12 USDC Colorado pg 2 of 3



31.     Angela Hernandez,
32.     Sandra Davis,

            Defendants.
______________________________________________________________________________

                                 MOTION TO WITHDRAW


        The United States of America, by John F. Walsh, United States Attorney for the District

of Colorado, and Colleen Covell, Assistant United States Attorney, hereby files its Motion to

Withdraw requesting she be permitted to withdraw as counsel of record in the above-captioned

case. As grounds for this motion, the government states that AUSA Guy Till is the attorney of

record in this case.

        Dated this 30th day of August, 2012.

                                               Respectfully submitted,
                                               JOHN F. WALSH
                                               United States Attorney

                                     By:        s/Colleen Covell
                                               COLLEEN COVELL
                                               Assistant United States Attorney
                                               U.S. Attorney’s Office
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                                               Denver, Colorado 80202
                                               Phone: (303) 454-0100
                                               Fax: (303) 454-0401
                                               Colleen.Covell@usdoj.gov
                                               Attorney for Government
Case No. 1:01-cr-00214-RM Document 3909 filed 08/30/12 USDC Colorado pg 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of August, 2012, I electronically filed the foregoing
MOTION TO WITHDRAW with the Clerk of the Court using the CM/ECF system which will
send such notification to counsel of record.




                                               s/Colleen Covell
                                              COLLEEN COVELL
